        Case 19-34397 Document 154 Filed in TXSB on 05/02/22 Page 1 of 2
                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                               May 02, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                                HOUSTON DIVISION

 IN RE:                                        §
                                               §
 RODNEY JOHNSON, SR.,                          §           CASE NO. 19-34397
                                               §
 Debtor.                                       §           CHAPTER 11


   AGREED ORDER GRANTING DEBTOR’S MOTION FOR ATTORNEY FEES AS
                 SANCTIONS AND RELEASING BOND

       Came on for consideration the Debtor’s Motion Regarding Bond Posted by PHH Mortgage

Corporation [ECF No. 143] and Debtor’s Motion for Attorney Fees as Sanctions Against PHH

Mortgage Corporation [ECF No. 144].

       Pursuant to an agreement of the parties, the Court orders the following:

       Debtor’s motion for attorney’s fees is GRANTED. PHH Mortgage Corporation will pay

Debtor attorney’s fees in the amount of $43,350.07 by delivering said amount to Debtor’s attorney

within fifteen (15) days of the date of this order.

       Debtor’s motion regarding bond is DENIED. The bond posted by PHH dated July 30,

2020 for $25,613.41 with The Ohio Casualty Insurance Company is hereby released.

       All relief not granted herein is denied.

       DATE SIGNED ___________________
Signed: May 02, 17,
        October 20222018

                                                      ____________________________________
                                                      Marvin Isgur
                                                                     Marvin Isgur
                                                      United States Bankruptcy Judge
                                                          United States Bankruptcy Judge




                                             Page 1 of 2
       Case 19-34397 Document 154 Filed in TXSB on 05/02/22 Page 2 of 2




AGREED AS TO FORM AND SUBSTANCE:

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                                       Page 2 of 2
